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                                                                                FILED
                      UNITED STATES DISTRICT COURT FOR THE
                                        District of Oregon                          SEP 2 3 2020
                                                                                Clerk, U.S, District Court
                                                                                Eastern District of Texas
   CRAIG CUNNINGHAM,
   Plaintiff,




   Big Thin Capital, inc., Joe Pellegrino, Dan               4:20cv724-ALM-KPJ
   Israel, Arnold Pinkhasov

   John/Jane Does 1-5




   Defendant




                       Plaintiffs Original Complaint and Jury Demand


                                               Parties

   1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

       calls in this case in Collin County.

   2. Big Think capital, Inc., is a New york corporation that can be served via registered

       agent, the New York Secretary of State or at 30 Broad Street, 14th Floor, New York,

      New York 10004 or 225 Broadhollow Road, Melville, NY 11747

   3. Joe Pellegrino is a natural person and can be served 30 Broad Street, 14th Floor, New

       York, New York 10004 or 225 Broadhollow Road, Melville, NY 11747

   4. Dan Israel is a natural person and can be served at 30 Broad Street, 14th Floor, New

       York, New York 10004 or 225 Broadhollow Road, Melville, NY 11747

   5. Arnold Pinkhasov is a natural person and can be served at 30 Broad Street, 14th Floor,
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      New York, New York 10004

   6. John/Jane Does 1- 5 are other liable parties currently unknown to the Plaintiff.

                               JURISDICTION AND VENUE

   7. Jurisdiction. This Court has federal-question subject matter jurisdiction over

      Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

      statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has

      supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas

      Business and Commerce Code 305.053 because that claim: arises from the same

      nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

      little complexity to the case; and doesn’t seek money damages, so it is unlikely to

      predominate over the TCPA claims.

   8. Personal Jurisdiction. This Court has general personal jurisdiction over the

      defendant because they have repeatedly placed calls to consumers nationwide from

      this district and the defendant maintains bank accounts and a presence in this district.

   9. This Court has specific personal jurisdiction over the defendants because the calls at

      issue were sent by or on behalf of the Defendant in this complaint.

   10. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

      because a substantial part of the events giving rise to the claims the calls originated

      from this district.

      THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

      227

   11. In 1991, Congress enacted the TCPA in response to a growing number of consumer

      complaints regarding telemarketing.
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   12. The TCPA makes it unlawful to make any call (other than a call made for emergency

      purposes or made with the prior express consent of the called party) using an

      automatic telephone dialing system or an artificial or prerecorded voice ... to any

      telephone number assigned to a ... cellular telephone service. 47 U.S.C. §


      227(b)(l)(A)(iii).
   13. The TCPA makes it unlawful “to initiate any telephone call to any residential

      telephone line using an artificial or prerecorded voice to deliver a message without

      the prior express consent of the called party, unless the call is initiated for emergency

      purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

      the United States, or is exempted by rule or order” of the Federal Communication

      Commission (“FCC”). 47 U.S.C. § 227(b)(1)(B).

   14. The TCPA provides a private cause of action to persons who receive calls in violation

      of § 227(b). 47 U.S.C. § 227(b)(3).

   15. Separately, the TCPA bans making telemarketing calls without a do-not-call policy

      available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

   16. The TCPA provides a private cause of action to persons who receive calls in

      violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

   17. According to findings of the FCC, the agency vested by Congress with authority to

      issue regulations implementing the TCPA, automated or prerecorded telephone calls

      are a greater nuisance and invasion of privacy than live solicitation calls and can be

      costly and inconvenient.

   18. The FCC also recognizes that “wireless customers are charged for incoming calls


   1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
   (codifying a June 26, 2003 FCC order).
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      whether they pay in advance or after the minutes are used. In re Rules and

      Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014,

       14115 165 (2003).

   19. The FCC requires prior express written consent” for all autodialed or prerecorded

      telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

      consumer s written consent to receive telemarketing robocalls must be signed and be

      sufficient to show that the consumer: (1) received clear and conspicuous disclosure

      of the consequences of providing the requested consent, i.e., that the consumer will

      receive future calls that deliver prerecorded messages by or on behalf of a specific

      seller; and (2) having received this information, agrees unambiguously to receive

      such calls at a telephone number the consumer designates. In addition, the written

      agreement must be obtained without requiring, directly or indirectly, that the

      agreement be executed as a condition of purchasing any good or sendee.

   20. In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

      1991,27 FCC Red. 1830, 1844 33 (2012) (footnote and internal quotation marks

      omitted). FCC regulations generally establish that the party on whose behalf a

      solicitation is made bears ultimate responsibility for any violations.” In the Matter of

      Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC

      Red. 12391, 12397 f 13 (1995).

   21. The FCC confirmed this principle in 2013, when it explained that “a seller ... may be

      held vicariously liable under federal common law principles of agency for violations

      of either section 227(b) or section 227(c) that are committed by third-party

      telemarketers.” In the Matter of the Joint Petition Filed by Dish Network, LLC, 28
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      FCC Red. 6574, 6574 f 1 (2013).

   22. Under the TCP A, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

      F.3d 946, 951 -52 (9th Cir. 2009).

   23. A corporate officer involved in the telemarketing at issue may be personally liable

      under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Season, Case No. 10-


       10010, 2013 U.S. Dist. LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) ( [Mjany

       courts have held that corporate actors can be individually liable for violating the

       TCPA where they had direct, personal participation in or personally authorized the

       conduct found to have violated the statute. (internal quotation marks omitted));

      Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415 - 16 (D. Md. 2011) ( If

      an individual acting on behalf of a corporation could avoid individual liability, the

      TCPA would lose much of its force. ).




                                   FACTUAL ALLEGATIONS

   24. This case relates to calls placed selling business funding services to the Plaintiff

                                Calls/Text Messages to the Plaintiff

   25. Mr. Cunningham received at least 83 text messages and images, which are considered

      calls from 833-369-3529 to two different cell phones owned by the Plaintiff. The calls

      began on March 13,2020 and continued through 9/23/2020. One of the phone

      numbers maintained by the Plaintiff is listed on the national DNC list and has been

      listed on there prior to March 13, 2020.

   26. These texts were initiated using an automated telephone dialing system and contained

      a pre-written text message to the Plaintiffs cell phone ***.***.7262 and
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   27. These were willful and knowing violations of the TCPA as the Plaintiff had

      previously sued Big Think Capital in a class action lawsuit Cunningham v Big Think

      Capital, Inc., (2:19-cv-00638, E.D. New York) in February 2019 for unsolicited

      telemarketing calls more than a year prior to the reciept of the first text message in

      March 2020. Plaintiff had notified Big think Capital during the pendency of the

      original lawsuit that they had continued to call and text the Plaintiff as well at the

      same very numbers that the defendants continue to text the Plaintiff on today.

   28. On each and every text there was a pre-recorded message and was initiated using an

      automated telephone dialing system. The texts failed to properly identify themselves

      as being affiliated with the defendant in this case.

   29. These calls were not related to any emergency purpose.

   30. The Plaintiff never consented to recieving automated calls or calls with pre-recorded

      messages from any of the defendants or their agents.

   31. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

      monthly allotment.

   32. Mr. Cunningham has limited data storage capacity on his cellular telephone.

      Incoming calls from the defendants consumed part of this capacity.

   33. No emergency necessitated the calls

   34. Each call was sent by an ATDS.

                Knowing and Willful Violations of Telemarketing Regulations

   35. The defendant knew that he were engaging in an illegal robocalling campaign and

      contracted with an illegal telemarketing entity currently unknown to the Plaintiff.
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   36. The defendant knowingly violated the TCP A by initiating automated calls to the

      Plaintiff. The defendants took multiple actions to conceal their identity, which is

      indicative of knowledge that their actions were illegal and the willful nature of the

      violations.

   37. The Defendant did not train its agents engaged in telemarketing on the existence and

      use of any do-not-call list.


   38. Plaintiff had filed a lawsuit and previously complained of receving unwanted

      telemarketing calls and despite this the defendants decided to text the Plaintiff over

      83 times.

   39 INJURY, HARM, DAMAGES, and ACTUAL DAMAGES AS A RESULT OF

      THE CALLS

   40. Defendant s calls harmed the Plaintiff by causing the very harm that Congress sought

      to prevent a nuisance and invasion of privacy.

   41. Defendant’s calls harmed the Plaintiff by trespassing upon and interfering with

      Plaintiff’s rights and interests in Plaintiff’s cellular telephone.

   42. Defendant’s calls harmed the Plaintif by trespassing upon and interfering with

      Plaintiff’s rights and interests in Plaintiff’s cellular telephone line.

   43. Defendant’s calls harmed the Plaintiff by intruding upon Plaintiff’s seclusion.

   44. The Plaintiff has been banned, injured, and damages by the calls including, but not

      limited to:

   Reduced Device Storage space

   Reduced data plan usage

   Invasion of privacy
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   Lost time tending to text messages

   Decreased cell phone battery life

   More freqent charging of my cell phone resulting in reduced enjoyment and usage of my

   cell phone

   Reduced battery usage

   Annoyance

   Frustruation

   Anger

                      The Plaintiffs cell phone is a residential number

   45. The calls were to the Plaintiffs cellular phone ***.***.7262 and ***-***.1977

      which is the Plaintiff s personal cell phone that he uses for personal, family, and

      household use. The Plaintiff maintains no landline phones at his residence and has not

      done so for at least 10 years and primarily relies on cellular phones to communicate

      with friends and family. The Plaintiff also uses his cell phone for navigation purposes,

      sending and receiving emails, timing food when cooking, and sending and receiving

      text messages. The Plaintiff further has his cell phone registered in his personal name,

      pays the cell phone from his personal accounts, and the phone is not primarily used

      for any business purpose.
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                                I. FIRST CLAIM FOR RELIEF

       (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                   (A ainst All Defendants)

           1. Mr. Cunningham realleges and incorporates by reference each and every

   allegation set forth in the preceding paragraphs.

          2. The foregoing acts and omissions of Defendants and/or their affiliates or

   agents constitute multiple violations of the TCP A, 47 U.S.C. § 227(b)(1)(A), by making

   non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

   without his prior express written consent.

          3. Mr. Cunningham is entitled to an award of at least $500 in da ages for

   each such violation. 47 U.S.C. § 227(b)(3)(B).

          4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

   each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

          5. Mr. Cunningham also seeks a pen anent injunction prohibiting

   Defendants and their affiliates and agents from making non-emergency telemarketing

   robocalls to cellular telephone numbers without the prior express written consent of the

   called party.


                               n. SECOND CLAIM FOR RELIEF

          (Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))

                                   (Against All Defendants)

          6. Mr. Cunningham realleges and incorporates by reference each and every

   allegation set forth in the preceding paragraphs.
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           7.       The foregoing acts and omissions of Defendants and/or their affiliates or


    agents constitute multiple violations of FCC regulations by making telemarketing

    solicitations despite lacking:

                   a. a written policy, available upon demand, for maintaining a do-not-

    call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                   b. training for the individuals involved in the telemarketing on the

    existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,

                    c. in the solicitations, the name of the individual caller and the name

    of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

    64.1200(d)(4).4

            8. Mr. Cunningham is entitled to an award of at least $500 in damages for


    each such violation. 47 U.S.C. § 227(c)(5)(B).

            9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for


    each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

            10. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until

    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and the defendant s name in the solicitations (3) by placing

    calls to a number registered on the national do-not-call list.




    2 See id. at 425 (codifying a June 26, 2003 FCC order).
    3 See id. at 425 (codifying a June 26, 2003 FCC order).
    4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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                                  m. THIRDCLAIM FOR RELIEF

                (Violations of the Texas Business and Commerce Code 305.053

                                     (Against All Defendants)

            11. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

            12. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the Texas Business and Commerce code

                   a. a written policy, available upon demand, for maintaining a do-not-

    call list, in violation of 47 C.F.R. § 64.1200(d)(1);5

                   b. training for the individuals involved in the telemarketing on the

    existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);6 and,

                   c. in the solicitations, the name of the individual caller and the name

    of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

    64.1200(d)(4).7

            13. Mr. Cunningham is entitled to an award of at least $500 in da ages for

    each such violation. 47 U.S.C. § 227(c)(5)(B) and 47 USC 227(b)

           14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(c)(5) and 47 USC 227(b)

           15. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until



    5 See id. at 425 (codifying a June 26, 2003 FCC order).
    6 See id. at 425 (codifying a June 26, 2003 FCC order).
    7 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and the defendant s name in the solicitations (3) by placing

    calls to a number registered on the national do-not-call list.




                                     IV. PRAYER FOR RELIEF

             WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

    Defendants jointly and severally as follows:

             A. Leave to amend this Complaint to name additional DOESs as they are

    identified and to conform to the evidence presented at trial;

             B. A declaration that actions complained of herein by Defendants violate the

    TCPA and Oregon state law;

             C. An injunction enjoining Defendants and their affiliates and agents from

    engaging in the unlawful conduct set forth herein;

             D. An award of $4500 per call in statutory damages arising from the TCPA

    intentional violations jointly and severally against the corporation and individuals for 83

    calls.

             E. An award to Mr. Cunningham of damages, as allowed by law under the

    TCPA;

             F. An award to Mr. Cunningham of interest, costs and attorneys’ fees, as

     allowed by law and equity

             G. Such further relief as the Court deems necessary, just, and proper.
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    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
